Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 1 of 63 Page ID #:690



   I LAW OFFICES OF ZEV B. ZYSMAN
       A Professional Corporation
   2 Zev B. Zysman (176805)
     zev@zysmanlawca.com
   3 15760 Ventura Boulevard, Suite 1915
     Encino, CA 91436
   4 Telephone: (818) 783-8836
     Facsimile: (818) 783-9985
   5
       CAPSTONE LAW APC
       Jordan L. Lurie (130013)
       jordan.lurie@capstonelawyers.com
   7    1840 Century Park East Suite 450
       Los Angeles, CA 90067
   8   Telephone: (310) 556-4811
       Facsimile: (310) 943-0396
   9
       Attorneys for Plaintiff and
  10 the Proposed Settlement Class
  11 BARNES & THORNBURG LLP
       Kevin D. Rising (211663)
  12 Kevin.Rising@btlaw.com
       Levi W. Heath (220854)
  13 Levi.Heath@btlaw.com
       Devin Stone 260326)
  14   Devin.Stone@btlaw.com
       Telephone: 310) 284-3880
  15   Facsimile:   10) 284-3894
  16   Attorneys for Defendant Defender
       Security Company
  17

  18
                             UNITED STATES DISTRICT COURT
  19
                           CENTRAL DISTRICT OF CALIFORNIA
  20

  21
     KAMI BROWN, on Behalf of Herself       Case No: CV12-07319-CAS (PJW)
  22 and All Others Similarly Situated,
                                            CLASS ACTION
  23                       Plaintiff,
                                            SETTLEMENT AGREEMENT AND
  24         v.                             RELEASE AND RELATED
                                            EXHIBITS
  25 DEFENDER SECURITY COMPANY
     d/b/a DEFENDER DIRECT, INC. and
  26 PROTECT YOUR HOME; and DOES 1 Date: October 28, 2013
     through 100, inclusive,         Time: 10:00 a.m.
  27                                 Ctrm: 5
                        Defendants   Judge: Honorable Christina A. Snyder
  28
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 2 of 63 Page ID #:691



                         SETTLEMENT AGREEMENT AND RELEASE

          This Agreement is made and entered into as of the 12th day of September 2013, by and
 between the Class Representative, individually and on behalf of Class Members, and Defendant
 Defender Security Company ("Defender").

                                             RECITALS


          This Agreement is made for the following purpose and with reference to the following
 facts:

             A. On or about July 25, 2012, the Class Representative filed a class action complaint

                 against Defender in the Superior Court of the State of California, County of Los

                 Angeles, thereby commencing that civil action entitled Kami Brown v. Defender

                 Security Company d/b/a Defender Direct, Inc. and Protect Your Home, Case No.

                 BC 489024. The Class Representative alleged, among other things, that Defender

                 recorded and/or monitored telephone communications without the knowledge or

                 consent of all of the parties to the telephone communication in violation of

                California Penal Code §§ 632 and 632.7 and sought statutory damages and

                injunctive relief.

             B. On or about August 24, 2012, Defender removed the Action from the Superior
                Court of the State of California, County of Los Angeles to the United States
                District Court for the Central District of California, under Case No. 2:12-cv-
                07319-CAS-PJW.

             C. On or about August 31, 2012, Defender filed its Motion to Dismiss the case under
                Federal Rule of Civil Procedure 12(b)(6). On September 24, 2012 the Class
                Representative opposed the Motion. Defender replied on October 5, 2012.
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 3 of 63 Page ID #:692



          D. On or about October 22, 2012, the United States District Court denied Defender's
              Motion to Dismiss in its entirety.

          E. On or about November 7, 2012, Defender filed an Answer to the Complaint.

          F. Plaintiff engaged in extensive informal and formal discovery, including

              propounding and reviewing responses to interrogatories, requests for production

              of documents, and requests for admissions directed to Defender, and reviewing

             thousands of pages of documents and data related to the claims, defenses and

             alleged damages at issue in the Complaint. Class Counsel are sufficiently familiar

             with the facts of the case and the applicable law to evaluate the fairness of the

             Settlement.

          G. On May 29, 2013, the Parties participated in a full-day mediation before (Ret.)
             Justice Howard B. Wiener. A settlement was reached on the material terms of a
             proposed class action settlement agreement. Thereafter, the Parties mutually
             executed a Memorandum of Understanding ("MOU") setting forth those material
             terms.

         H. Defender disputes the claims and contentions alleged in the Complaint and does
             not by this Agreement admit any liability or wrongdoing of any kind in the
             Action. Defender expressly denies and continues to deny that it has committed or
             attempted to commit any violation of law or breached any alleged duties owed to
             the Class Representative or the members of the putative class.

         I. Class Counsel and the Class Representative believe that the claims asserted in the
             Action possess merit and have examined and considered the benefits to be
             obtained under the proposed settlement set forth in this Agreement, the risks
             associated with the continued prosecution of the complex and potentially time-
             consuming litigation, and the likelihood of success on the merits of the Action.
             Class Counsel has fully investigated the facts and law relevant to the merits of the
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 4 of 63 Page ID #:693



                 claims, conducted extensive discovery, and conducted an independent
                 investigation. Class Counsel and the Class Representative have concluded that
                 the proposed settlement set forth in this Agreement is fair, adequate, reasonable,
                 and in the best interests of the Class.

             J. The Parties have decided to enter into this Agreement to avoid the further
                expense, inconvenience, and distraction of burdensome and protracted litigation.
                The Parties desire to settle the Action in its entirety with respect to all claims for
                recording or monitoring of telephone conversations by Defender. The Parties
                intend this Agreement to bind Defender, on the one hand, and Kami Brown (as
                Class Representative and individually), and all Class Members who do not request
                exclusion from the Class, on the other hand.

              TERMS OF STIPULATION AND AGREEMENT OF SETTLEMENT

        NOW, THEREFORE, in light of the foregoing, in consideration of the terms and
 conditions set forth herein, which the Parties acknowledge are good and valuable consideration
 for this Agreement, the Parties agree and stipulate, by and through their respective counsel of
 record, subject to approval by the Court, as follows:

 1. Definitions.

        As used in this Agreement and its incorporated Exhibits, the following terms have the
 meanings specified herein:

            1) "Action" means the civil action filed in the Superior Court of the State of
                California, County of Los Angeles, entitled Kami Brown v. Defender Security
                Company d/b/a Defender Direct, Inc. and Protect Your Home, Case No.
                BC489024 and removed to and now pending in the United States District Court
                for the Central District of California under Case No. 2:12-cv-07319-CAS-PJW.

            2) "Agreement" means this Settlement Agreement and Release entered into between
                Defender, on the one hand, and the Class Representative, individually and on




                                                   3
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 5 of 63 Page ID #:694



              behalf of Class Members, on the other hand, in the Action, including all terms and
              conditions set forth herein.

          3) "Attorneys Fee and Cost Award" means the amount to be awarded by the Court,
              in an amount not to exceed 30% of the Common Fund, which shall be payable to
              Class Counsel, for Class Counsel's attorneys' fees, and litigation costs in
              prosecuting the Action.

          4) "Authorized Claimant" means those Class Members who submit a valid and
              timely Claim Form as more fully set forth herein to register their claim for
              recovery from the Common Fund under this Agreement.

          5) "Claim Form" is the electronic or paper form that Class Members must complete
             and agree to under penalty of perjury stating entitlement to a claim and submit to
             the Claims Administrator, in the form of Exhibit A incorporated herein by
             reference.

          6) "Claims Administrator" refers to the firm of KCC Class Action Services, LLC,
             which the Parties have agreed will be responsible for the administration of this
             class action settlement as more fully described herein, and whose fees, costs, and
             expenses shall be paid solely out of the Common Fund. Defender will provide the
             Class List, defined infra, to the Claims Administrator after entry of the Court's
             Order Granting Preliminary Approval of Class Action Settlement, and the Claims
             Administrator will handle the Class List in accordance with that Order, as more
             fully described therein.

          7) "Class" or "Class Member(s)" means all persons in California, who at any time
             during the Class Period participated in one or more inbound and/or outbound
             telephone conversations with employees, contractor, agents, subsidiaries, parents,
             or representatives of Defender or Defender's DBAs and whose calls were
             recorded or monitored by Defender.

          8) "Class Counsel" refers to Zev B. Zysman and Jordan Lurie and their respective
             firms, the Law Offices of Zev B. Zysman APC and Capstone Law APC.
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 6 of 63 Page ID #:695



          9) "Class Compensation" is the amount of One Million, Four Hundred Thousand,
              U.S. Dollars ($1,400,000.00) in cash, to be deposited into the Common Fund.

           10)"Class List" is the list to be supplied by Defender to the Claims Administrator, as
              ordered by the Court in its Order Granting Preliminary Approval of Class Action
              Settlement, from information reasonably in its possession of each of its current,
              prospective, and former customers who have a last known address or telephone
              number in California and who Defender has identified as having made a telephone
              call to, or received a telephone call from, Defender during the Class Period. The
              Class List may be supplemented by the Claims Administrator with such
              information that the Claims Administrator may develop in order to assure that
              notice and an opportunity to participate in the settlement is provided to those
              potential class members identified on the Class List supplied by Defender.

          11) "Class Notice" is the Notice of Class Action Settlement, in the form of Exhibit B,
              incorporated herein by reference.

          12)"Class Period" is the period to which the settlement and this Agreement applies,
             July 25, 2011 through and including June 1, 2013.

          13) "Class Representative" refers to Plaintiff Kami Brown as representative of the
             Class.

          14)"Common Fund" is the One Million, Four Hundred Thousand, U.S. Dollars
             ($1,400,000.00) which shall be used to pay (i) all financial consideration to the
             Class Members who submit valid and timely Claim Forms as described in Section
             8 below, (ii) the compensation to the Class Representative, (iii) all attorneys' fees
             and costs, and (iv) all costs of class notice and claims administration.

          15) "Complaint" refers to the Complaint filed by Kami Brown in the Action.

          16)"Court" means the United States District Court for the Central District of
             California in which this Action is pending, and to which presentation of this
             Agreement for judicial review and approval will be made.
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 7 of 63 Page ID #:696




          17) "Cure Period" means the time period allotted to a claimant to cure defective or
              incomplete information on the Claim Form.

          18)"Defender" refers to Defendant Defender Security Company d/b/a

              Defender Direct, an Indiana corporation, and each of its parents,

              predecessors, subsidiaries, affiliates, officers, directors, partners, agents,

              employees, servants, assignees, counsel, successors, and/or

             representatives.

          19) "Defense Counsel" means Defender's counsel, Kevin D. Rising, Levi W. Heath,
             and Devin Stone at Barnes & Thornburg LLP.

          20)"Effective Date" means the latter of the following: (i) thirty-one (31) calendar
             days following the date the Court enters an order granting final approval,
             assuming no appeal is filed; and (ii) if a timely appeal is filed, the date of final
             resolution of that appeal (including any requests for rehearing and/or petitions for
             certiorari), resulting in final judicial approval of the settlement..

          21)"Final List of Individual Settlement Amounts" means a list that the Claims
             Administrator will provide to Class Counsel and Defense Counsel, as ordered by
             the Court in its Order Granting Preliminary Approval of Class Action Settlement,
             showing the number (only) of Authorized Claimants and the amount each
             Authorized Claimant will receive.

          22) "Judgment" means the Final Order Approving Class Action Settlement and
             Judgment to be rendered by the Court, in the form of Exhibit C, incorporated
             herein by reference.

         23) "Order Granting Preliminary Approval of Class Action Settlement" means the
             proposed order granting preliminary approval of the class action settlement in the
             form contained in Exhibit D, incorporated herein by reference.
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 8 of 63 Page ID #:697



             24) "Party" refers individually to the Class Representative, on behalf of herself and
                 Class Members, or Defender. Collectively, they are referred to as the "Parties."

             25) "Prorated Settlement Amount" is the amount of money to be paid to each
                 Authorized Claimant, the calculation of which is set forth in Section 2.3 below.

             26) "Settlement Amount" is the Common Fund less (i) all attorneys' fees and costs as
                 ordered by the Court, (ii) compensation paid to the Class Representative; and (iii)
                less all costs of class notice and claims administration as allowed by the Court.

             27)"Short Form Class Notice" is the version of the Notice of Class Action Settlement
                intended for newspaper publication and regular mail, in the form of Exhibit E,
                incorporated herein by reference.

 2. Settlement Payments and Procedures

        (2.1) Defender shall deliver One Million, Four Hundred Thousand, U.S. Dollars
 ($1,400,000.00) to the Claims Administrator to place into the account set up to hold the Common
 Fund within fifteen (15) days following the entry of the Order Granting Preliminary Approval of
 Class Action Settlement. In no event shall Defender be obligated under this Agreement or
 otherwise to pay to any Authorized Claimant more than his or her share of the Prorated
 Settlement Amount, in connection with this Agreement or the Action. Upon the Effective Date,
 Defender shall have no reversionary interest in any portion of the Common Fund, and any
 unclaimed and/or uncashed portion of the Common Fund shall be paid to the cy pres recipient as
 described in Section 11 below.

        (2.2) The settlement proceeds shall be held prior to distribution in the Common Fund
 administered by KCC Class Action Services, LLC (the "Claims Administrator"). The Common
 Fund shall be held in demand deposit accounts with one or more banks as agreed by the Parties
 and the Claims Administrator. The Common Fund shall be subject to the jurisdiction of the
 Court, until such funds are distributed pursuant to this Agreement and/or further orders of the
 Court. The Common Fund will serve as a "qualified settlement fund" under §468B of the
 Internal Revenue Code and Treasury regulations issued thereunder (collectively, the "IRS



                                                 7
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 9 of 63 Page ID #:698



  Regulations"). The Parties and Claims Administrator shall take all actions reasonably required
  to administer the Common Fund as a qualified settlement fund under the IRS Regulations. The
  "administrator," as that term is used in the IRS Regulations, shall be the Claims Administrator.
  Interest earned on the Common Fund shall accrue to the Common Fund.

          (2.3) Calculation of Prorated Settlement Amount to the Class. The Claims Administrator
  shall calculate the Prorated Settlement Amount by taking the Settlement Amount and dividing it
  by the number of Authorized Claimants (X) as represented in the following formula.

                     Prorated Settlement Amount =              Settlement Amount
                                                                       X

  In no event shall the Prorated Settlement Amount exceed Five Thousand Dollars ($5,000) per
  Authorized Claimant.

         (2.4) Distribution of Prorated Settlement Amount to Authorized Claimants. Each
  Authorized Claimant shall be entitled to a one-time distribution payment from the Settlement
  Amount which is equal to the Prorated Settlement Amount, up to a maximum amount of Five
  Thousand Dollars ($5,000.00) per Authorized Claimant.

         (2.5) Enhancement Payment to the Class Representative. Subject to the approval of the
  Court, the Class Representative shall receive an Enhancement Payment, not to exceed Five
  Thousand Dollars ($5,000.00), which shall be payable out of the Common Fund. Defender shall
  not oppose or otherwise object to this request to the extent it does not exceed Five Thousand
  Dollars ($5,000.00). The Class Representative shall receive the Enhancement Payment within
  fifteen (15) calendar days after the Effective Date. The Parties represent that their negotiation of
  and agreement to the Enhancement Payment to the Class Representative did not occur until after
 the substantive terms of the Agreement had been negotiated and agreed to in principle with the
 assistance of (Ret.) Justice Howard B. Wiener.

         (2.6) Payment of Class Counsel's Fees and Costs. (a) As part of the settlement, Class
 Counsel may apply to the Court for an award of attorneys' fees and costs in an amount not to
 exceed four hundred and twenty thousand dollars ($420,000), which is 30% of the Common
 Fund, and to be paid from the Common Fund, which application shall include all fees, litigation


                                                   8
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 10 of 63 Page ID #:699



   expenses, and costs, of whatsoever kind or nature (including any fees, litigation expenses, and
   costs incurred by Class Counsel or any other professional working with Class Counsel), and to
   which Class Counsel shall be entitled as a result of the Action. The Parties represent that the
   amount of the attorneys' fees and costs to be requested by Class Counsel was negotiated at
  arm's-length, and only after agreement was reached on all substantive terms of the settlement,
  with the assistance of (Ret.) Justice Howard B. Wiener. Class Counsel's Attorneys Fees' and
  Cost Award shall not be separate from the Common Fund. Defender agrees that it shall not
  oppose or in any way take steps to undermine Class Counsel's fees and costs application.

          (b) Class Counsel's Attorneys Fees' and Cost Award as ordered by the Court shall be
  paid by the Claims administrator within fifteen (15) calendar days after the Effective Date.

          (2.7) Except as provided herein, Defender shall not be liable for any other attorneys' fees
  or litigation expenses and costs of Class Counsel, the Class Representative, or any other Class
  Member in connection with the Action or any claim that is related to this Action or that was or
  could have been alleged in the Action. Except as otherwise provided above with respect to the
  Attorneys Fees and Cost Award, Class Counsel shall not seek any fees or expenses from
  Defender in connection with the Action and the settlement set forth herein, including, without
  limitation, any fees or expenses incurred in connection with final approval of the settlement, any
  objection(s) or appeal(s), expert fees, class notice or claims administration, or other fees or
  expenses. Defender agrees that it will not seek to recover its costs, attorneys' fees, or expenses
  in connection with the Action from any Class Representative, Class Counsel, or any Class
  Member.

  3. Agreement Regarding Recording or Monitoring of Telephone Calls.

          Defender agrees, that in response to this Lawsuit, it will not record and/or monitor calls
  with callers who are located in California without providing notice of recording or monitoring to
  those callers. Notwithstanding this provision, in no event shall Defender be obligated to
  implement procedures beyond those required by California law nor shall this Agreement create
  any affirmative obligation to monitor, oversee, or regulate.




                                                   9
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 11 of 63 Page ID #:700




   4. Claims Administration and Procedure.

          (4.1) As directed by the Court in its Order Granting Preliminary Approval of Class
   Action Settlement, the Claims Administrator shall administer with Defender the process of
   notifying the Class; insuring compliance with further conditions for Authorized Claimants to be
   eligible to receive Prorated Settlement Amounts; receiving, handling, processing and paying
   claims; opening and maintaining an interest bearing trust account; setting up and maintaining a
   website for this settlement; and any other duties necessary for the proper administration of
   claims. The Claims Administrator shall ensure that the information that it receives from
   Defender and/or Class Members is secured and managed in such a way as to protect the security
   and confidentiality of the information, consistent with the privacy policies of Defender as well as
   applicable law. Except as specifically provided in this Agreement, the Claims Administrator
  shall not disclose or disseminate any information that it receives from Defender and Class
  Members to anyone, including Defender customer information, without the prior written consent
  of all Parties. The Claims Administrator will disseminate the: (1) Short Form Class Notice by
  regular mail as described in Section 5, below; (2) Short Form Class Notice to the Class by
  publication, as described in Section 5, below; and (3) Class Notice through its website.

          (4.2)    All fees and costs incurred by the Claims Administrator shall be paid from the
  Common Fund after they are reviewed and approved by Class Counsel and Defense Counsel for
  Defender. The Claims Administrator shall submit written status reports jointly to Defender,
  Defense Counsel and Class Counsel, on a bi-weekly basis.

  5. Class Notice.

          (5.0) Within ten (10) days after the filing of the Unopposed Motion for Preliminary
  Approval and supporting Agreement, Defender shall serve the appropriate Federal and State
  officials with the required notice in accordance with the Class Action Fairness Act, 28 U.S.C.
  §1715(b).

          (5.1) The Parties anticipate that many of the members of the Class will be able to be
  identified and located from the records of Defender.




                                                   10
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 12 of 63 Page ID #:701



          (5.2) As for Class Members who are identified in the Class List, following entry of the
   Order Granting Preliminary Approval of Class Action Settlement and within thirty (30) days
   after receipt of the Class List, the Claims Administrator shall mail notice of the proposed class
   action settlement by regular mail substantially in the form of the Short Form Class Notice in a
  postcard format, containing instructions that the Claim Form can be accessed and filled out on
  the Settlement Website of the Claims Administrator, or upon request to the Claims
  Administrator, by mail for return to the Claims Administrator by mail.

          (5.3) As for Class Members who are not identified in the Class List, within thirty (30)
  days after entry of the Order Granting Preliminary Approval of Class Action Settlement, the
  Claims Administrator shall arrange for (1) the publication substantially in the form of the Short
  Form Class Notice in the USA Today (California Edition) for at least a period of two days and an
  advertisement size of at least 1/4 of a page, which shall include the web address of the website,
  where the Claim Form may be accessed, filled out, and submitted and (2) the creation and
  maintenance of a Settlement Website where important information including the Class Notice
  will be posted.

          (5.4) Individuals will be able to view the Class Notice and obtain, fill out, and submit
  a Claim Form online or in paper form, which will require, among other items of information,
  the individual's (1) his or her social security number or taxpayer identification number, (2)
  current address, (3) the phone number(s) on which the call(s) made to or from Defender were
  received, and (4) that the call(s) occurred during the Class Period. The social security number or
  taxpayer identification number shall only be used for tax reporting purposes only. The Claims
  Administrator shall accommodate reasonable requests by Class Members to submit their social
  security or taxpayer identification number to the Claims Administrator in a manner other than
  including it on the Claim Form. Class Counsel agrees that such information, is necessary to
  effectuate payment to Class Members, and specifically approves the information sought in the
  Claim Form.

          (5.5) The Court shall order that no later than twenty (20) days after the Court's Order
  granting preliminary approval of this settlement and Agreement, Defender shall compile the
  Class List from its records and shall provide the Claims Administrator with the following



                                                   11
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 13 of 63 Page ID #:702



  information for all persons Defender is reasonably capable of identifying from its records in
  the Class List: (a) name (if available); (b) last known mailing address (if available); and (c)
  telephone number (if available). Defender shall provide the telephone number of those
  potential Class Members customers for which Defender does not have a name or mailing
  address to the Class Administrator for the purpose of permitting the Class Administrator to
  ascertain that Class Member's mailing address through the "reverse lookup."

          (5.6) Within thirty (30) days after receipt of the Class List, the Claims Administrator
  shall send by regular mail the Short Form Class Notice to the last known mailing address of each
  person on the Class List, if ascertainable.

          (5.7) With respect to those persons whose Short Form Class Notice by regular mail is
  returned to the Claims Administrator as undeliverable, the Claims Administrator shall promptly
  attempt to obtain an updated address for that person, and if such an address is obtained, shall
  resend the Short Form Class Notice to that updated address. If the regular mail attempts at notice
  are unsuccessful, and/or a Class Member otherwise fails to follow the procedures set forth in this
  Agreement for submitting a claim or requesting exclusion from the Class, the notice procedures
  for Class Members not identified in the Class List shall be deemed to apply and the Class
  Member shall automatically be deemed a member of the Class whose rights and claims with
  respect to the issues raised in the Complaint are determined by the Court's Judgment approving
  the settlement of the class claim and this Action, and the Judgment, and by the other rulings in
  the Action.

         (5.8) The Parties agree that the Class Notice and Short Form Class Notice fairly inform
  the Class Members of the general nature of the litigation, the financial and other terms of the
  Agreement particularly significant for the Class Members, the general procedures for and
  consequences of making a claim and objecting to the Settlement Agreement, and date of the final
  fairness and approval hearing. If any additional requirements for giving notice to the Class are
  imposed by the Court or otherwise, Defender shall have the option to terminate this Agreement,
 and this Agreement shall be null and void and this Settlement of no force or effect. Defender
 must give notice of such termination in writing to Class Counsel no later than fourteen (14)




                                                   12
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 14 of 63 Page ID #:703



   calendar days after the day that such additional notice requirement is imposed, or Defender will
   be deemed to have waived its right to do so.

          (5.9) Compliance with the procedures described herein shall constitute due and sufficient
   notice to Class Members of this proposed settlement for the final approval hearing, and shall
   satisfy the requirement of due process. Nothing else shall be required of, or done by, the Parties,
   Class Counsel, Defense Counsel, or the Claims Administrator to provide notice of the proposed
   settlement and the final approval hearing as described herein.

  6. Costs Associated With Providing Notice.

          (6.1) All costs and expenses associated with the giving of all notices to the Class
  Members as provided in this Agreement shall be fully and exclusively paid from the Common
  Fund, and no such costs and expenses shall be borne by Defender, and Defender shall not be
  liable to the Claims Administrator for any costs or expenses of Class Notice.

  7. Option to Terminate

          (7.1) In the event that the settlement is not granted final approval by the Court for any
  reason, including but not limited to Defender exercising a right granted herein to terminate this
  Agreement, then all costs of settlement administration and class notice actually incurred to the
  date of termination shall be paid by Defender.

  8. Claim Forms and Authorized Claimants.

          (8.1) For a Class Member to share in the Settlement Amount, his or her Claim Form
  must be completely filled out and electronically signed by the Class Member or his or her
  authorized representative, under penalty of perjury, acknowledging entitlement to a claim and
  the legality of the online electronic signature. Although the preferred method of submitting the
  Claim Form shall be online through the website of the Claims Administrator, upon a specific
  request from a Class Member, the Claims Administrator may send to the Class Member and/or
  accept from the Class Member a paper claim form by U.S. Mail rather than a Claim Form
  submitted online. The Claim Form shall be deemed deficient by the Claims Administrator if it is
  not fully completed, and, accordingly, if submitted online, will be automatically rejected upon


                                                    13
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 15 of 63 Page ID #:704



   the attempt to submit it online, or rejected after examination by the Claims Administrator if not
   submitted online, and such rejection will be made known to the claimant as soon as practicable
   after the attempt to submit the Claim Form, and such claimants shall be given until the Claim
   Period deadline to cure any deficiency.

          (8.2)     The Claim Form must be submitted to the Claims Administrator no later than
   ninety (90) days after the date of the Court's Order granting preliminary approval of this
   settlement and Agreement ("Claim Period"). Any Claim Form that is submitted or returned to
   the Claims Administrator after the Claim Period will not be accepted and processed.

          (8.3)     Promptly upon expiration of the Claim Period, the Claims Administrator will
  provide, in readable format such as in a Microsoft Excel spreadsheet, a summary of the
   submitted Claim Forms to Class Counsel and Defense Counsel. Upon request, the Claims
  Administrator will provide, in a reasonable format, any or all of the actual Claims Forms to Class
  Counsel and Defense Counsel.

          (8.4)    Defender shall have the option to research the basis of each or any claimant's
  claim, including the accuracy of the information provided on the Claim Form, to verify the
  propriety and accuracy of each claim. Defender shall have fourteen (14) days from its receipt of
  the summary of the Claims Forms to notify Class Counsel, and the Claims Administrator that it
  is exercising this option. If Defender exercises this option, and then determines that the
  information provided in any individual Claim Form is inaccurate, Defender shall notify Class
  Counsel and the Claims Administrator and the Claim Form shall be deemed deficient. If
  Defender does not determine that the information is inaccurate, the Claim Form shall be deemed
  valid and the Class Member shall become an "Authorized Claimant."

          (8.5)    Should Defender deem a Claim Form deficient as described in section 8.4,
  above, then the Claims Administrator shall e-mail or mail a copy of the deficient Claim Form to
  the e-mail or mail address of the person submitting the claim and Class Counsel. The claimant
  shall have a thirty (30) day period from the date of the e-mail or mail to cure the defective or
  incomplete information on the Claim Form ("Cure Period").




                                                   14
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 16 of 63 Page ID #:705



          (8.6)     Should Defender deem a Claim Form deficient as described in section 8.4,
   above, and the claimant is unable to cure the deficiency during the Cure Period, then said
   claimant's rights as a Class Member to pursue any claims covered by the Action will be
   extinguished and said Class Member will not be permitted to recover from the Common Fund.

          (8.7)     If Defender exercises the option as provided in Section 8.4, above, then the
   review process described in Section 8.4, above, shall be completed within one hundred and
   twenty (100) days after the conclusion of the Claim Period.

          (8.8)    Any Class Member who fails to submit a timely Claim Form to the Claims
   Administrator by following the procedure set forth in the Class Notice and/or who also fails to
   file a request for exclusion from the Class shall automatically be deemed a Class Member whose
   rights and claims with respect to the issues raised in the Complaint and Action are determined by
  the Court's Final Order approving this settlement, the Judgment, and by the other rulings in the
  Action. Thus, said Class Member's rights to pursue any claims covered by the Action will be
  extinguished and said Class Member will not be permitted to recover from the Common Fund.

          (8.9)    If any Class Member submits a deficient Claim Form as described above, and
  fails to cure the deficiency within the Cure Period, then said Class Member's rights to pursue any
  claims covered by the Action will be extinguished and said Class Member will not be permitted
  to recover from the Settlement Amount. Neither the Claims Administrator nor the Parties shall
  have any further obligation to notify such Class Member or to send another Claim Form to such
  Class Member.

          (8.10) Within fifteen (15) days after the later of (1) Effective Date, (2) the end of the
  Claim Period, or (3) the resolution of all disputes over individual settlement amounts or
  Authorized Claimants (including Defender's option to research the claims as provided in Section
  8.4), the Claims Administrator will provide a list ("Final List of Individual Settlement
  Amounts") to Class Counsel and Defense Counsel showing the name, address, and individual
  settlement amounts for each Authorized Claimant who will receive settlement proceeds from the
  Settlement Amount.




                                                   15
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 17 of 63 Page ID #:706




   9. Exclusion From the Class

           (9.1)        Any Class Member may request to be excluded from the Class (i.e., "opt out")
   by mailing a letter, by first class mail to the Claims Administrator and copying Class Counsel
   and Defense Counsel, containing a statement that he or she requests to be excluded from the
   Class. Any such request must be made in accordance with the terms set forth in the Class Notice
  and will be timely only if postmarked no later than ninety (90) days, after the date of the Court's
  Order granting preliminary approval of the this settlement and Agreement (the "Exclusion
  Period"). The timeliness of any request for exclusion shall be conclusively determined by the
  postmark date. Upon receipt of an exclusion request, the Claims Administrator shall provide a
  copy of the request to Class Counsel and Defense Counsel. No later than five (5) days after the
  Exclusion Period, the Claims Administrator shall provide Class Counsel and Defense Counsel
  with a list of the Class Members who have requested exclusion from the Class.

          (9.2)         If more than two hundred (200) Class Members request exclusion from the
  Class within the permissible time period as described in the preceding section, Defender shall
  have the option to terminate this Agreement; if Defender terminates this Agreement, this
  Agreement shall be null and void and this Settlement shall have no force or effect. Defender
  shall give notice of such termination in writing to Class Counsel, the Claims Administrator and
  Defense Counsel for the other Party no later than fourteen (14) days after the day it receives the
  list of Class Members who have requested exclusion from the Class as described in Section 9.1,
  above. If Defender notifies Class Counsel that it has elected to terminate the Agreement
  according to this subparagraph, Class Counsel may attempt to cause retraction of any election of
  exclusion by a Class Member or Members. If Class Counsel, prior to the date set for Final
  Approval Hearing succeeds in causing the retraction of sufficient requests for exclusion such that
  the number of exclusions no longer exceeds two hundred (200), Defender's notice of withdrawal
  shall be a nullity.




                                                     16
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 18 of 63 Page ID #:707



  10. Obtaining Preliminary Court Approval of the Agreement and Certification of
      Settlement Class.

          (10.1) Upon full execution of the Agreement, the Parties shall take all necessary steps
  to obtain an Order from the Court substantially in the form of the Order Granting Preliminary
  Approval of Class Action Settlement, granting conditional approval of the settlement and
  certifying a Settlement Class, and produce the Class List to the Claims Administrator in order to
  effect notice and protect the rights of Class Members, all as set forth in this Agreement. The
  Parties agree that the Court may make preliminary findings in connection with the Order subject
  to final findings and ratification of the Judgment.

          (10.2) The Proposed Order granting preliminary approval of the settlement shall
  include the following timeline regarding claims administration:


   Last day for Defendant to deposit $1,400,000 with        15 days after entry of Preliminary Approval Order
   The Claims Administrator

   Last day for Defendant to provide the Claims             20 days after entry of Preliminary Approval Order
   Administrator with The Class List


   Last Day for Claims Administrator to begin mailing       30 days after receipt of Class List
   Short Form Class Notice


   Last day for Claims Administrator to begin                30 days after entry of Preliminary Approval Order
   publishing Short Form Notice in a newspaper and
   publish Class Notice on dedicated Settlement Website
   in accordance with Section 5.3 above
   Last day for Plaintiff to file application for attorneys' 76 days after entry of Preliminary Approval Order
   fees and costs, and Class Representative's
   Enhancement Payment
   Last day for claim forms, requests for exclusion and     90 days after entry of Preliminary Approval Order
   objections to the settlement to be postmarked and/or
   filed by Class Members


   Last day for Plaintiff to file motion for final approval 110 days after entry of Preliminary Approval Order
   of settlement and response to any objections




                                                       17
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 19 of 63 Page ID #:708



    Hearing on motion for final approval of settlement          Approximately 120 days after entry of Preliminary
    and application for attorneys' fees and costs, class        Approval Order
    representative's service payment, and claims


           (10.3)   If the Court does not approve the settlement contemplated by and embodied in
  this Agreement, then this Agreement shall terminate and be of no force or effect, unless the
  Parties voluntarily agree to modify this Agreement in the manner necessary to obtain Court
  approval. If this Agreement is terminated or for any reason does not occur (in whole or in part),
  any orders certifying a Settlement Class shall be vacated, the Action shall then proceed with no
  certified class and the Class Representative shall be entitled to bring a motion for class
  certification and the Court shall establish a deadline for the Class Representative to bring such
  motion. In such circumstances, Defender may file a motion for a determination that no class can
  be certified.

   11. Cy Pres Distribution of Settlement Amount Remainder.

          (11.1) Subject to the approval of the Court, in the event that any portion of the Common
  Fund remains unclaimed, or any check paid to any Authorized Claimant remains uncashed for
  more than one hundred twenty (120) days after issuance, then such unclaimed or uncashed funds
  will revert to the Class for cy pres distribution to Consumer Federation of America which is a
  non-profit organization qualified under IRC § 501(c)(3) that educates organizations and/or
  consumers in California regarding issues relating to protection of privacy, identity, and personal
  information.

  12. Final Approval, Judgment, and Dismissal with Prejudice.

          (12.1) After the Court's preliminary approval of the settlement and the provision of
  notice to the Class as set forth above, the Parties shall take all necessary steps to obtain final
  approval of the settlement from the Court and to thereafter effectuate the settlement, including
  entry of the Judgment in the Action, addressing any appellate issues, and obtaining any necessary
  further orders from the Court. The final approval hearing shall take place no less than one
  hundred and twenty (120) days after entry of the Court's Order granting preliminary approval of
  the settlement.



                                                           18
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 20 of 63 Page ID #:709



          (12.2) Plaintiff shall file a motion for final approval of the settlement, no later than one
   hundred and ten (110) days after the date of the Court's Order granting preliminary approval of
   the settlement. Class Counsel shall prepare and file a motion in support of the Attorneys' Fee
   and Cost Award and Class Representative's Enhancement Payment not later than fourteen (14)
   days before the objection deadline.

          (12.3) In the event any objections to the settlement are filed, including any objections
  to the requested attorneys' fees and costs or Class Representative's Enhancement Payment, the
  Parties, either individually or jointly, may file a response to such objections no later than one
  hundred and ten (110) days after the date of the Court's Order granting preliminary approval of
  the settlement, concurrently with Plaintiff's motion in support of final approval.

          (12.4) As part of the process of obtaining final approval of the settlement, the Proposed
  Judgment, shall be submitted to the Court with the Motion for Final Approval of the settlement.
  At the time of the final hearing by the Court, and if the Court provides final approval of the
  settlement, the Parties shall request the Court immediately execute and enter the mutually-agreed
  upon Judgment.

          (12.5) At the hearing on final approval of settlement, the Class Representative shall
  dismiss with prejudice all causes of action that she brought against Defender provided that the
  Court grants final approval.

  13. Compensation to Authorized Claimants.

          (13.1) If Defender has not exercised the option provided in Section 8.4 of this
  Agreement to research the basis for the submitted claims, then within five (5) days after the date
  the Claims Administrator provides the Final List of Individual Settlement Amounts to Class
  Counsel and Defense Counsel, the Claims Administrator shall promptly proceed to distribute
  proceeds from the Settlement Amount to each Authorized Claimant. If Defender has exercised
  its option provided in Section 8.4 of this Agreement to research the basis for the submitted
  claims, then within the later of thirty (30) days after the date that Defender has notified the
  Claims Administrator that it has completed its research or sixty (60) days after the Effective
  Date, but in no event later than three hundred (300) days after the Effective Date, the Claims



                                                    19
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 21 of 63 Page ID #:710



  Administrator shall promptly proceed to distribute proceeds from the Settlement Amount to each
  Authorized Claimant.

          (13.2) The Parties expect that the Claims Administrator shall conduct all
  administration of disbursements of the Settlement Amount and otherwise manage the Settlement
  Amount. The Claims Administrator shall establish a toll-free phone number for Class Members
  to call to answer questions regarding their claims. Additionally, the Claims Administrator will
  communicate with Class Counsel and Defense Counsel on a regular basis regarding such
  distributions and any issues arising from such distributions.

  14. Release, Waiver, and Covenant Not to Sue.

          (14.1) Upon entry of the Judgment, Class Representative, for herself and on behalf of
  each member of the Class who has not submitted a valid and timely request for exclusion from
  the Class, and their respective heirs, assigns, successors, agents, attorneys, executors, and
  representatives, shall be deemed to have, and by operation of the Judgment shall have, fully,
  finally, irrevocably, and forever released Defender and, whether or not specifically named
  herein, each of its past or present directors, officers, employees, agents, insurers or reinsurers,
  shareholders, attorneys, advisors, consultants, representatives, partners, affiliates, related
  companies, affiliated companies, parents, subsidiaries, joint venturers, independent contractors,
  wholesalers, resellers, distributors, retailers, divisions, predecessors, successors, and assigns,
  from any and all liabilities, claims, causes of action, damages, costs, attorneys' fees, losses, or
  demands, whether known or unknown, existing or potential, suspected or unsuspected, which
  were asserted or could have been asserted in the Action and are related to the claims asserted in
  the Action, including, without limitation, any and all claims relating to the transactions, actions,
  conduct or events that are the subject of the Action, and any and all claims arising out of the
  institution, prosecution, assertion, settlement or resolution of the Action, and any all claims
  relating to the recording and/or monitoring of telephone calls to or from Class Members
  ("Released Claims").

         (14.2) By operation of the entry of the Judgment, the Class Representative, for herself
  and on behalf of each member of the Class, agrees to waive in connection with the Released
  Claims any and all provisions, rights and benefits, which she now has or in the future may have


                                                    20
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 22 of 63 Page ID #:711



  been conferred to her by section 1542 of the California Civil Code ("Section 1542") or any
  comparable statutory or common law provision of any other jurisdiction. Section 1542 reads as
  follows:

                  Certain Claims Not Affected by General Release: A general release does not
                  extend to claims which the creditor does not know or suspect to exist in his or her
                  favor at the time of executing the release, which if known by him or her must
                  have materially affected his settlement with the debtor.

          Although the releases granted under this Agreement are not general releases, Class
  Representative, for herself and each member of the Class, nonetheless expressly acknowledges
  that, to the extent permitted by law, she is waiving in connection with the Released Claims the
  protections of Section 1542 and of any comparable statutory or common law provision of any
  other jurisdiction.

          (14.3) Except for proceedings to enforce the terms of this Settlement Agreement, upon
  entry of Judgment, the Class Representative, for herself and on behalf of each member of the
  Class, shall be deemed to have, and by operation of the Judgment shall have agreed not to file,
  maintain, cause or knowingly permit the filing or maintenance of any lawsuit, administrative
  action, or other proceeding, in any state, federal or foreign court, or before any local, state,
  federal or foreign administrative agency, or any other tribunal, that arises from or relates to any
  of the Released Claims.

  15.    Court to Retain Jurisdiction.

         Notwithstanding the entry of Judgment, the Court shall retain jurisdiction of the Action
  until such time as the Court determines that the settlement is fully consummated according to the
  terms and conditions of this Agreement.

  16.    No Admission of Liability.

         (16.1) The Parties understand and acknowledge that this Agreement constitutes a
  compromise and settlement of disputed claims. No action taken by the Parties either previously
  or in connection with the negotiations or proceedings connected with this Agreement shall be


                                                    21
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 23 of 63 Page ID #:712



  deemed or construed to be an admission of the truth or falsity of any claims or defenses
  heretofore made or an acknowledgment or admission by any Party of any fault, liability or
  wrongdoing of any kind whatsoever.

          (16.2) Neither the Agreement, nor any act performed or document executed pursuant
  to or in furtherance of the Agreement or the settlement, is or may be deemed to be or may be
  used as an admission of, or evidence of, the validity of any claim made by the Class Members,
  Class Counsel, or anyone else.

  17. Collateral Attack and Res Judicata.

         (17.1) This Agreement shall not be subject to collateral attack by any Class Member or
  any recipient of the Class Notice after the Judgment is entered. Such prohibited collateral attacks
  shall include but are not limited to claims that the procedures for claims administration were
  incorrect, or that the Class Member failed for any reason to receive timely notice of the
  procedure for submitting a Claim Form or disputing the calculation of his or her individual share
  of the Settlement Amount.

         (17.2) To the extent permitted by law, the Agreement and/or Judgment may be pleaded
  as a full and complete defense to, and may be used as the basis for an injunction against, any
  action, suit or other proceeding which may be instituted, prosecuted or attempted in breach of
  this Agreement. Defender may file this Agreement and/or the Judgment in any action that may
  be brought against it in order to support a defense or counterclaim based on principles of res
 judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction or any
  other theory of claim preclusion or issue preclusion or similar defense or counterclaim.

  18. Non Evidentiary Use.
             -




         Except as provided herein, neither this Agreement nor any of its terms shall be offered or
 used as evidence by any of the Parties, Class Members, or their respective counsel in the Action
 or in any other action or proceeding; provided, however, that nothing contained in this section
 shall prevent this Agreement from being used, offered, or received in evidence in any proceeding
 to enforce, construe, or finalize the settlement and this Agreement.



                                                  22
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 24 of 63 Page ID #:713



   19.    Nullification.

          (19.1) If (1) the Court should for any reason fail to sign the Preliminary Order Granting
   Preliminary Approval of Class Action Settlement; or (2) the Court should for any reason fail to
   approve this Agreement in the form agreed to by the Parties; or (3) the Court should for any
   reason fail to enter the Judgment; or (4) the Judgment is reversed, modified, or declared or
   rendered void; or (5) the Court should for any reason fail to dismiss with prejudice the Class
   Representative's causes of action; or (6) Defender terminates this Agreement for reasons
  permitted herein, then (i) this Agreement shall be considered null and void, notwithstanding the
  severability clause in this Agreement, (ii) neither this Agreement nor any of the related
  negotiations or proceedings shall be of any force or effect, (iii) all Parties to this Agreement shall
  stand in the same position, without prejudice, as if the Agreement had been neither entered into
  nor filed with the Court, (iv) Class Representative and Class Counsel shall make repayment to
  the Claims Administrator of any disbursements they received from the Common Fund, and (v)
  the Claims Administrator shall return to Defender any portion of the Common Fund that has not
  been paid to the Claims Administrator pursuant to the terms of this Agreement in connection
  with the costs of providing of notice to the Class and claims administration.

          (19.2) In the event that for any reason final distribution of the Common Fund does not
  occur (for example, because this Agreement and/or the Judgment is modified or reversed on
  appeal, or this Agreement is canceled, rescinded, terminated, voided, or nullified), the entire
  Common Fund shall remain the sole property of Defender and any sums previously distributed
  shall be returned to Defender except for those sums paid to the Claims Administrator pursuant to
  the terms of this Agreement in connection with providing of notice to the Class and claims
  administration.

          (19.3) In the event of a timely appeal from the Judgment, the Judgment shall be stayed,
  the fees and reimbursement of expenses to Class Counsel shall not be paid, and the Common
  Fund shall not be distributed to Authorized Claimants pending the completion of the appeal.




                                                   23
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 25 of 63 Page ID #:714



  20. Confidentiality and Non-Disparagement Clause.

           (20.1) In order to ensure that all information provided to the Class Members regarding
  the terms and conditions of this Settlement Agreement is content-neutral and has been approved
  by the Court in substance, the Parties agree that no press release shall be made concerning this
  Agreement except as required by law or to effectuate the Agreement. Nothing herein shall
  prevent Class Counsel from making statements in Court filings concerning the settlement of this
  matter and their role as Class Counsel, or shall prevent the Parties from responding to press
  inquiries.

           (20.2) The Parties shall abstain from making, publishing, posting, aiding, or
 authorizing the publication of any false or defamatory statements to any other persons about each
 other.

 21.       Extensions of Time.

           Unless otherwise ordered by the Court, the Parties may jointly agree to reasonable
 extensions of time to carry out any of the provisions of this Agreement.

 22.       No Pending Action.

           Each of the Parties represents and warrants that she or it is not aware of any other
 lawsuits or administrative proceedings involving Defender regarding the subject matter of the
 Action.

 23.       Integration.

           This Agreement constitutes a single, integrated written contract expressing the entire
 agreement of the Parties relative to the subject matter hereof. No covenants, agreements,
 representations, or warranties of any kind whatsoever have been made by any Party hereto,
 except as provided herein.




                                                    24
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 26 of 63 Page ID #:715




   24.     Construction and Intent.

          (24.1) This Agreement is executed voluntarily by each of the Parties without any
  duress or undue influence on the part, or on behalf, of any of them. This Agreement has been
  negotiated at arms-length by parties of equal bargaining power, and drafted jointly by Class
  Counsel and Defense Counsel. Each of the Parties has had full opportunity to review and
  consider the contents of this Agreement, have read and fully understand the provisions of this
  Agreement, and have relied on the advice and representation of legal counsel of their own
  choosing. In the event that a dispute arises with respect to this Agreement, no Party shall assert
  that any other Party is the drafter of this Agreement, for purposes of resolving ambiguities that
  may be contained herein. If any provision of this Agreement shall be deemed ambiguous, such
  provision shall not be construed against any Party on the basis of the identity of the purported
  drafter of this Agreement.

          (24.2) The Parties intend this Agreement to be a final and complete resolution of all
  disputes between them with respect to the Action.

          (24.3) The Parties agree that the Agreement was negotiated in good faith by the
  Parties. Should it be become necessary or desirable, in the sole and unfettered discretion of
  Defender, to seek the determination of a court (whether in the Action or in any other present or
  future proceeding) that the terms of settlement set forth in this Agreement constitute a "good
  faith settlement" for purposes of California Code of Civil Procedure section 877.6 or any other
  law or doctrine of this or any other jurisdiction of similar effect, the Class Representative
  (individually and on behalf of Class Members) and Defender agree not to oppose such a Court
  determination.

          (24.4) The descriptive headings of any paragraphs or sections of this Agreement are
  inserted for convenience of reference only and do not constitute part of this Agreement.

          (24.5) As used in this Agreement, the masculine, feminine or neutral gender, and the
  singular or plural number, shall each be deemed to include the others whenever the context so
  indicates.




                                                   25
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 27 of 63 Page ID #:716



  25. Governing Law.

          The Agreement shall be construed in accordance with, and be governed by, the laws of
  the State of California, without regard to the principles thereof regarding choice of law. The sole
  and exclusive forum for resolution of any disputes arising under or related to this agreement shall
  be the United States District Court for the Central District of California or, if and only if that
  court does not have subject matter jurisdiction, the state courts located in Los Angeles County,
  California.

  26.    Survival of Warranties and Representations.

         The warranties and representations of this Agreement are deemed to survive the date of
  execution hereof.

  27.    Representative Capacity.

         Each person executing this Agreement in a representative capacity represents and
  warrants that he or she is empowered to do so.

  28.    Counterparts.

         This Agreement may be executed in any number of counterparts, each of which shall be
  deemed an original, but all of which together shall constitute one and the same instrument, even
  though all Parties do not sign the same counterparts. The Agreement may be executed by
  facsimile and portable document format (PDF) signature.

  29.    Cooperation of the Parties.

         (29.1) The Parties acknowledge that it is their intent to consummate this Agreement
  and agree to cooperate to the extent reasonably necessary to effectuate and implement all terms
  and conditions of the Agreement and to exercise their best efforts to accomplish the foregoing
  terms and conditions of the Agreement. Specifically, the Parties to this Agreement agree to
  prepare and execute all documents, to seek Court approvals, defend Court approvals, and to do




                                                    26
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 28 of 63 Page ID #:717



  all things reasonably necessary to complete the settlement described in this Agreement. Further,
  the Parties will comply in good faith with the terms and conditions of the Agreement.

          (29.2) Should any dispute arise among the Parties or their respective counsel regarding
  the implementation or interpretation of this Agreement, a representative of Class Counsel and a
  representative of Defense Counsel shall meet and confer in an attempt to resolve such disputes
  prior to submitting such disputes to the Court. In addition, any of the Parties may request that
  any such dispute be mediated by the Justice Howard B. Weiner (Ret.), with the costs of such
  mediation being split equally among the Parties.

  30.    Severability.

          If any portion, provision, or part of this Agreement is held, determined or judged to be
  invalid, unenforceable, or void, for any reason whatsoever, each such portion, provision, or part
  shall be severed from the remaining portions, provisions, or parts of this Agreement and shall not
  affect the validity or enforceability of such remaining portions, provisions, or parts, unless doing
  so would deprive a Party a benefit of its bargain.

  31. Notices.

          (31.1) All notices and documents to Class Counsel and Defense Counsel provided for
  herein shall be sent via email in portable document format (pdf) or, if too large to send in that
  format, by U.S. Mail.

          (31.2) Upon the request of any of the Parties, the Parties agree to promptly provide
  each other with copies of objections, requests for exclusion, or other filings received as a result
  of notice to the Class.

  32.     Modification and Amendment.

         This Agreement may be amended or modified only by a written instrument signed by the
  Parties' counsel and approved by the Court.




                                                   27
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 29 of 63 Page ID #:718




   33.    Binding on Successors and Assigns.

          The Agreement shall be binding upon, and inure to the benefit of, the successors and
  assigns of the Parties hereto.

  34.     Procedures for Making Objections to the Settlement

          (34.1) Any Class Member who has not requested exclusion may object to the terms of
  the settlement, including but not limited to Class Counsel's application for attorneys' fees and
  litigation expenses and/or the Class Representative's Enhancement Payment. Written objections
  must be filed with the Court, and delivered to Class Counsel and Defense Counsel at the
  addresses set forth below, no later than ninety (90) days after the date of the Court's Order
  granting preliminary approval of the settlement. The delivery date is deemed to be the date the
  objection is deposited in the U.S. Mail as evidenced by the postmark. Any written objections
  must state: (a) the name of the Action, "Brown v. Defender Security Company, et al."; (b) the
  full name, address and telephone number of the person objections; (c) a statement that the person
  is a Class Member; (d) a statement of each objection; and (e) a written brief detailing the specific
  reasons, if any, for each objection, including any legal and factual support the objector wishes to
  bring to the Court's attention and any evidence the objector wishes to introduce in support of the
  objection(s). The objection will not be valid if it only objects to the Action's appropriateness or
  merits. Any Class Member who files and serves a written objection, as described in this
  paragraph, has the option to appear at the Final Approval Hearing, either in person or through
  personal counsel hired at the Class Member's expense, to object to the Agreement. However,
  Class Members, or their attorneys, intending to make an appearance at the Final Approval
  Hearing, must also deliver to Class Counsel and Defense Counsel, and file with the Court, a
  Notice of Intention to Appear no later than ninety (90) days after the date of the Court's Order
  granting preliminary approval of the settlement. Only Class Members who file and serve timely
  Notices of Intention to Appear may speak at the Final Approval Hearing. Class Members who
  fail to make objections in this manner will be deemed to have waived any objections and will be
  foreclosed from making any objections (whether by a subsequent objection, intervention, appeal,
  or any other process) to the Agreement. If any objection is rejected or overruled, such Class
  Member will be bound by the final judgment as if he or she had not objected.



                                                   28
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 30 of 63 Page ID #:719



          (34.2) Any written objections to the settlement and/or notice of intent to appear as
   described above must be filed with the Court and delivered to the Parties no later than ninety
   (90) days after the date of the Court's Order granting preliminary approval of the settlement.
   The timeliness of objections shall be determined the date of filing with the Court. Objections
   and/or Notices of Intention to Appear must be served on the Parties at the following addresses:

          Class Counsel:

          Zev B. Zysman
          Law Offices of Zev B. Zysman APC
          15760 Ventura Boulevard Suite 1915
          Encino, CA 91436

          Jordan L. Lurie
          Capstone Law APC
          1840 Century Park East, Suite 450
          Los Angeles, CA 90067

          Defense Counsel:

          Kevin D. Rising
          Levi W. Heath
          Devin Stone
          BARNES & THORNBURG LLP
          2049 Century Park East, Suite 3550
          Los Angeles, CA 90067


          (34.3) Class Members who do not file their objections and/or notices of intent to
  appear in the manner set forth herein will be deemed to have waived all objections and will not
  be entitled to be heard at the settlement approval hearing. Any objector to the settlement must
  submit a timely and valid Claim in order to participate in the settlement in the event his or her
  objection is rejected.

  35.Responsibility for Taxes

          (35.1) Class Counsel understands and agrees that Class Members are solely and entirely
  responsible for all liens, reimbursement requests, or any other claims asserted by a governmental
  entity or third party that exist or which might arise, or be asserted in connection with the Class


                                                   29
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 31 of 63 Page ID #:720



  Representative's claims, the Settlement Amount, or this Agreement including any and all claims
  made, sought or imposed by the Internal Revenue Service, the Tax Board, and/or any other
  federal, state or local taxing board and/or agency in regard to any amounts due, or claimed to be
  due, by the Class. Class Counsel understands and agrees to hold harmless and fully indemnify
  Defendant and its agents and attorneys from any such claims against Defender by any
  governmental entity or third party.




         All of the foregoing is agreed to as of the date first written above.

         [Signatures begin on following page]




                                                   30
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 32 of 63 Page ID #:721




       Dated: September 9, 2013            KAM BROWN. ON BEHALF OF
                                           HERSELF AND AS CLASS
                                           REPRESENTATIVE




       Dated: September 9, 2013           DEFENDER SECURITY COMPANY



                                  By:
                                   Its:     V         CF
      Agrecd as to form:




      Dated: September 9, 2013

                                          LAW OFFICES OF ZEV B. ZYSMAN
                                          A Professional Corporation


                                  By: _
                                     Zev B. Zysinan

                                          CAPSTONE LAW APC


                                  By:            .....           _
                                          Jordan L. Lurie
                                          Attorneys for Plaintiff Kami Brown
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 33 of 63 Page ID #:722




   Dated: September 9, 2013              KAMI BROWN, ON BEHALF OF
                                         HERSELF AND AS CLASS
                                         REPRESENTATIVE



                                  By:




   Dated: September 9, 2013              DEFENDER SECURITY COMPANY



                                  By:
                                  Its:

   Agreed as to form:




   Dated: September 9, 2013

                                         LAW OFFICES OF ZEV B. ZYSMAN
                                         A Professional Corporation


                                  By:


                                         CAPSTONE LAW/PC


                                  By:
                                         Jordan L. L
                                         Attorneys for Plaintiff Kami Brown




                                         31
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 34 of 63 Page ID #:723



   Dated: September 12, 2013           BARNES & THORNBURG LLP



                                   By: — .      ..
                                      Kevin D. Rising
                                      Levi W. Heath
                                      Devin Stone
                                       Attorneys for Defendant Defender
                                       Security Company




                                       32
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 35 of 63 Page ID #:724




                         EXHIBIT A
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 36 of 63 Page ID #:725




            Kami Brown v. Defender Security          United States District Court for the Central
           Company d/b/a Defender Direct, Inc.                  District of California

                                                         Case No. 2:12-cv-07319-CAS-PJW




                                           CLAIM FORM

     INSTRUCTIONS: IN ORDER FOR YOU TO RECEIVE PAYMENT AS PART OF
      THE SETTLEMENT IN THE ABOVE ACTION, YOU MUST COMPLETE THIS
      FORM FOLLOWING THE PROCEDURES OUTLINED BELOW AND SUBMIT
               IT NO LATER THAN [INSERT: MONTH, DAY, YEAR]

     I. Personal Information. Please provide the following information:

     Name (first, middle and last):
     Address:
     City, State, Zip Code:
     Email Address:
     Telephone Number:
     Social Security or Taxpayer I.D. Number:


     Please note: If you provide incomplete, incorrect, or inaccurate information, your claim
     may be denied. The information you provide above will be used for processing of your
     claim and will not be used or released for any other purpose. Also note that your Social
     Security Number or Taxpayer I.D. Number is necessary for tax reporting purposes.
     The Claims Administrator has adopted industry-accepted safeguards to protect the
     privacy of your personal information.

     II. Claim Information

      1.    Please review the statements below and check the box and/or fill in the blanks as
     they apply to you.


             I placed one or more telephone calls to, and spoke with a representative on behalf
             of, Defender Security Company (doing business as Protect Your Home, Enjoy
     111     Better TV, Defender Direct, Adex Security, True Blue Water Solutions, True
             Energy Smart Air, True Home, True.Home, and True Home Security) during the
             period from July 25, 2011 through June 1, 2013.
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 37 of 63 Page ID #:726



     AND/OR

            I received one or more telephone calls from, and spoke with a representative on
     0      behalf of, Defender Security Company during the period from July 25, 2011
            through June 1, 2013.

     2.     The telephone number or number(s) on the phone(s) I was using at the time of the
     telephone call(s) identified in No. 1, above, is/are the following:



     3.     At the time, I made or received the telephone call(s) identified in No. 1, above, I
     was located in California.

            Yes
           No

     4.      During one or more of the telephone call(s) identified in No. 1, above, I was not
     notified that the call may be monitored and/or recorded.

           Yes
           No

     BY MY SUBMISSION BELOW, I HEREBY CERTIFY, UNDER PENALTY OF
     PERJURY UNDER THE LAWS OF THE UNITED STATES, THE STATE OF
     CALIFORNIA AND THE STATE OF MY RESIDENCE, THAT THE FOREGOING
     INFORMATION IS TRUE AND CORRECT.

     THIS FORM MUST BE COMPLETED AND SUBMITTED TO THE CLAIMS
     ADMINISTRATOR, ELECTRONICALLY OR BY U.S. MAIL ON OR BEFORE
     [INSERT MONTH, DATE YEAR]

     IF THE CLAIM FORM IS SUBMITTED BY U.S. MAIL, THE ADDRESS OF THE
     CLAIMS ADMINISTRATOR IS: KCC Class Action Services, LLC

     FOR ONLINE SUBMISSIONS:

     0 By checking this box and clicking "Submit" below, I acknowledge that I have read,
            understand, and agree to be bound by the conditions of this Claim Form.

     {SUBMIT)
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 38 of 63 Page ID #:727




                        EXHIBIT B
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 39 of 63 Page ID #:728




        Kami Brown v. Defender Security           United States District Court for the Central
       Company d/b/a Defender Direct, Inc.                   District of California

                                                      Case No. 2:12-cv-07319-CAS-PJW

                                                  NOTICE OF PENDENCY AND
                                                  SETTLEMENT OF CLASS ACTION
                                                  AND FINAL HEARING



                       NOTICE OF CLASS ACTION SETTLEMENT


     ATTENTION ALL PERSONS IN CALIFORNIA WHO HAD TELEPHONE CALLS
     WITH DEFENDER SECURITY COMPANY YOU MAY BE ENTITLED TO
     MONETARY RECOVERY

    There is now pending in the United States District Court for the Central District of
    California ("Court") a lawsuit entitled Kami Brown v. Defender Security Company d/b/a
    Defender Direct, Inc., Case No. 2:12-cv-07319-CAS-PJW, which involves allegations
    that telephone calls with Defender Security Company ("Defender"), were monitored
    and/or recorded without providing notice that the calls may be monitored or recorded.
    Defender has denied and continues to deny any liability, and there has been no finding
    that Defender has violated any laws.

                                          THE CLASS

    You are a Class Member and a proposed class action settlement (the "Settlement") could
    affect your legal rights if you were in California and:

    (a) placed one or more telephone calls to Defender between July 25, 2011 and June 1,
    2013, spoke with a representative on behalf of Defender, and were not provided with
    notice that the call may be recorded or monitored; and/or

    (b) received one or more telephone calls from Defender between July 25, 2011 and June
    1, 2013, spoke with a representative on behalf of Defender, and were not provided with
    notice that the call may be recorded or monitored (the "Settlement Class").

    If you qualify to be in the Settlement Class, you are a Class Member and may be entitled
    to payment of money from the Settlement Amount.
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 40 of 63 Page ID #:729



                            THE ACTION AND THE SETTLEMENT

     This class action arose out of allegations regarding Defender monitoring and/or recording
     telephone calls with current, prospective, and former customers without always giving
     notification that the call may be recorded or monitored and/or obtaining consent to
     recording or monitoring.

     Representative Plaintiff Kami Brown ("Representative Plaintiff') alleged in the
     Complaint that Defender monitored and/or recorded telephone calls without notice to or
     consent of the parties to the telephone calls in violation of applicable telephone privacy
     and/or recording laws. Representative Plaintiff sought fixed damages under the
     applicable laws, injunctive relief, and an award of attorneys' fees and costs.

     Defender has denied liability and disputes all allegations and claims set forth in the
     Complaint. However, the Parties have nonetheless decided to negotiate a settlement of
     this action in order to avoid the burden, expense and uncertainty of further litigation.
     Further, the Parties, after a thorough investigation of the facts and applicable law
     concerning all claims and defenses, have agreed that the proposed settlement is in the
     best interest of all Class Members and that the proposed settlement is fair, reasonable and
     adequate.

     Without admitting liability, One Million Four Hundred Thousand Dollars ($1,400,000)
     (the "Common Fund") will be paid to settle the case. The Common Fund, less any
     attorneys' fees and costs awarded by the Court to Class Counsel, a service payment to the
     Representative Plaintiff, as well as the costs of class notice and claims administration will
     be the "Settlement Amount." The Settlement Amount will be distributed to the Class
     Members in the form of a check. Any unclaimed or uncashed funds will be paid to
     the Consumer Federation of America, which is a non-profit organization(s) qualified
     under 501(c)(3) of the Internal Revenue Code that educates organizations and/or
     individual consumers in California regarding issues relating to protection of privacy,
     identity, and personal information.

     Subject to approval of the settlement by the Court, each member of the Settlement Class
     who does not request exclusion from the Class and who submits a valid claim as
     described below shall be entitled to one-time distribution payment. The actual amount
     received by each Class Member will depend on the number of valid claims submitted and
     approved by the Claims Administrator. Payments to the Class Members will be
     calculated by dividing the Settlement Amount by the number of authorized claimants.
     The maximum individual settlement amount for a Class Member who was in California
     at the time of any telephone call with Defender during the class period is $5,000.

     Moreover, in response to this Lawsuit, Defender will not record and/or monitor calls
     with callers who are located in California without providing notice of recording or
     monitoring to those callers. Notwithstanding this provision, in no event shall
     Defender be obligated to implement procedures beyond those required by
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 41 of 63 Page ID #:730



     California law nor shall this Agreement create any affirmative obligation to monitor,
     oversee, or regulate.


                    FINAL JUDGMENT AND RELEASE OF ALL CLAIMS

     If the Court approves the proposed settlement, it will enter a final judgment in the action
     on the merits as to all Class Members who do not request to be excluded from the
     Settlement Class. All Class Members who submit claims, and all Class Members who do
     not validly and timely request to be excluded from the proposed settlement, shall be
     subject to a binding judgment in favor of the Defender. All such Class Members shall be
     forever barred from prosecuting their own lawsuits and shall be deemed to have released
     Defender and its agents and representatives from all claims, causes of action or losses of
     any kind whatsoever relating to the monitoring and/or the recording of telephone calls
     that any Class Member has or may claim to have against such persons that are based
     upon, arise out of, or in any way relate to any of the acts, omissions or other conduct that
     were or could have been alleged or otherwise referred to in the action.

                                   HOW TO MAKE A CLAIM

     Subject to the approval of the settlement by the Court, if you want to participate in the
     settlement, you must complete and submit online or in paper form the Claim Form that is
     available on the Internet at the following web address: [claims administrator web address]
     no later than [90 days after preliminary approval of the settlement has been granted by
     the Court]. You may request a Claim Form in paper form by calling                 , and
     submit a Claim Form in paper form by sending it to the Claims Administrator, [claims
     administrator address], by U.S. First Class mail, such that it is postmarked no later than
     [90 days after preliminary approval of the settlement has been granted by the Court]

     It is highly recommended that you retain proof of submitting your Claim Form.

     If you choose to participate in the settlement by submitting a Claim Form, you will be
     bound by all of the provisions of the Settlement Agreement and Release, including a full
     release of claims that will prevent you from separately suing Defender and its agents and
     representatives.

     If you move during the pendency of the Lawsuit, please contact the Claims
     Administrator to update your address.

               HOW TO EXCLUDE YOURSELF FROM THE SETTLEMENT


     You have the right to exclude yourself from the Settlement Class and the settlement. If
     you wish to be excluded, you must complete and send a written Request for Exclusion,
     containing: (1) the name of the Lawsuit, "Brown v. Defender Security Company, Inc.
     Case No. 2:12-cv-07319-CAS-PJW; (2) your name; (3) your address; (4) your telephone
     number; (5) a statement you are a Class Member but wish to be excluded from the Brown
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 42 of 63 Page ID #:731



     settlement; and (6) your signature, sent by U.S. First Class mail and postmarked no later
     than [90 days after preliminary approval of the settlement has been granted by the
     Court]                     to the Claims Administrator at the following address:

     Claims Administrator: [address]

     If you timely and validly request exclusion from the Settlement Class, you will be
     excluded from the Settlement Class, you will receive none of the Settlement Amount, and
     you will not be bound by the Judgment entered in the action.


                         HOW TO OBJECT TO THE SETTLEMENT

     If you wish to object to the settlement, you must (1) file a written objection with the
     Clerk of the Court, U.S. District Court for the Central District of California, 312 N.
     Spring Street, Los Angeles, California 90012 and (2) serve such objection upon Class
     Counsel and Defendant's Counsel at the addresses set forth below. Any written
     objections must state (a) the name of the Lawsuit, "Brown v. Defender Security
     Company, Inc." Case No. 2:12-cv-07319-CAS-PJW; (b) the full name, address and
     telephone number of the person objecting; (c) a statement that the person is a Class
     Member; (d) a statement of each objection; and (e) a written brief detailing the specific
     reasons, if any, for each objection, including any legal and factual support the objector
     wishes to bring to the Court's attention and any evidence the objector wishes to introduce
     in support of the objection(s). If your objection is rejected or overruled, you will be
     bound by the final judgment as if you had not objected, so you must file a timely and
     valid Claim Form to participate even if you choose to object.


     To be considered, the objection papers must be received by the Court and delivered or
     postmarked to Class Counsel and Defendant's Counsel no later than [90 days after
     preliminary approval of the settlement has been granted by the Court] as follows:

            Class Counsel:

    Zev B. Zysman                                  Jordan L. Lurie
    Law Offices of Zev Zysman APC                  Capstone Law APC
    15760 Ventura Boulevard Suite 1915             1840 Century Park East, Suite 450
    Encino, CA 91436                               Los Angeles, CA 90067
    Tel: 818-783-8836                              Tel: 310-556-4811

            Defense Counsel:

            Kevin D. Rising
            Levi W. Heath
            Devin Stone
            BARNES & THORNBURG LLP
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 43 of 63 Page ID #:732



             2049 Century Park East, Suite 3550
             Los Angeles, CA 90067
             Tel: 310-284-3880

     Class Members who do not timely make their objections in this manner will be deemed to
     have waived all objections and will not be entitled to be heard at the settlement approval
     hearing. You may, but need not, file and serve your objection through counsel of your
     choice. If you do, you will be responsible for your personal attorneys' fees and costs.
     Class Counsel will file with the Court and post on the Settlement Website at [website]
     their motion for attorneys' fees and costs two weeks prior to [objection deadline].

     If you file and serve a written objection, you may appear at the Final Fairness and
     Approval Hearing, either in person or through personal counsel hired at your expense, to
     object to the Agreement. However, if you, or your attorney, intend to make an
     appearance at the Final Fairness and Approval Hearing, you must also deliver to Class
     Counsel and Defense Counsel, and file with the Court, a Notice of Intention to Appear no
     later than [90 days after preliminary approval of the settlement has been granted by
     the Court].

                                      TAKING NO ACTION

     If you take no action in response to this Notice, you will not receive any portion of the
     Settlement Amount, but you will still be bound by the release in the Lawsuit. You will
     be forever barred from instituting an action or claim asserting any of the Released
     Claims, as described above and in the Settlement Agreement and Release.

                                 ADDITIONAL INFORMATION

     The full terms of the settlement are in the Settlement Agreement and Release on file with
     the Clerk of the Court, and available on the website of the Claims Administrator at [insert
     website link]. Other filings with the Court may also be available on this website. The
     Settlement Agreement and Release shall govern where there is any conflict between it
     and this Notice.

     This description of the action is general and does not cover all of the issues and
     proceedings thus far. In order to see the complete file including the individual terms of
     the settlement, you should visit during normal business hours the Clerk of the Court, U.S.
     District Court for the Central District of California, 312 N. Spring Street, Los Angeles,
     California 90012. The Clerk will inform you as to how to obtain the file relating to this
     lawsuit for inspection and copying at your own expense.

                                NOTICE OF COURT HEARING

     The Settlement is subject to final Court approval and a hearing for that purpose has been
     scheduled for [date] before the Honorable Christina A. Snyder in Courtroom 5 of the
     United States District Court for the Central District of California, located at 312 N.
     Spring Street, Los Angeles, California 90012 ("the Final Fairness and Approval
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 44 of 63 Page ID #:733



     Hearing"). You are currently represented by the Class Counsel. However, you may
     retain your own counsel, if you choose, at your own expense. At the Final Fairness and
     Approval Hearing, Class Counsel will ask the Court to enter an Order finally approving
     the settlement and entering judgment. Class Counsel will also apply for an award of
     attorneys' fees not to exceed thirty percent (30%) of the Common Fund, and an
     enhancement payment of $5,000 to the Representative Plaintiff, both of which shall be
     paid from the Common Fund.

    YOU MAY CONTACT THE CLAIMS ADMINISTRATOR WITH ANY QUESTIONS
    AT [TOLL FREE NUMBER]. YOU MAY REQUEST A COPY OF THE
    COMPLAINT, THE SETTLEMENT AGREEMENT AND RELEASE, AND CERTAIN
    OTHER FILINGS IN THE LAWSUIT. MANY OF THESE DOCUMENTS ARE ALSO
    AVAILABLE ON THE SETTLEMENT WEBSITE AT [web address]. YOU MAY
    ALSO VIEW THE FILES FOR THE CASE BY VISITING THE COURT CLERK'S
    OFFICE.

                       PLEASE DO NOT CONTACT THE COURT
                    OR DEFENSE COUNSEL WITH ANY QUESTIONS
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 45 of 63 Page ID #:734




                       EXHIBIT C
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 46 of 63 Page ID #:735



      1

   2

   3

   4

   5

   6

   7

   8                                 UNITED STATES DISTRICT COURT
   9                                CENTRAL DISTRICT OF CALIFORNIA
  10                                       WESTERN DIVISION
  11
  12      KAMI BROWN, on Behalf of Herself
          and All Others Similarly Situated,            Case No. CV 12-07319-CAS (PJWx)
  13
                       Plaintiff,
  14                                                    [PROPOSED] FINAL ORDER
                VS.                                     APPROVING CLASS ACTION
  15                                                    SETTLEMENT AND JUDGMENT
          DEFENDER SECURITY COMPANY
  16      d/b/a DEFENDER DIRECT, INC. and
          PROTECT YOUR HOME; and DOES
  17      1 through 100, inclusive,
  18
                                     Defendant.
  19

 20

 21             The Court conducted a hearing regarding the fairness and final approval of
 22       the Settlement Agreement and Plaintiffs attorneys' fees and costs and Class
 23       Representative's Compensation in this action on , 20, at
 24       _.m., the Honorable Christina A. Snyder presiding. The parties appeared by and
 25       through their respective counsel of record.
 26
 27
 28
                                                    1.
             [PROPOSED] FINAL ORDER APPROVING CLASS ACTION SETTLEMENT AND JUDGMENT
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 47 of 63 Page ID #:736



       1          After considering the papers and the arguments of counsel, as well as any
   2       papers filed by objectors, and good cause appearing, the Court GRANTS Plaintiff's
   3       Motion for Final Approval and Judgment, and Plaintiff's Application for Attorneys'
   4       Fees and Costs and Class Representative's Compensation, and rules as follows.
   5       FINDINGS:
   6              I.    The Settlement Agreement and Release (hereafter, the "Settlement
   7       Agreement"), previously filed with the Court, and all definitions set forth therein
   8       are hereby incorporated with and made part of this Final Order Approving Class
   9       Action Settlement and Judgment ("Final Order and Judgment").
  10             2.     This Court has jurisdiction over the subject matter of this Action and
  11       all parties to this Action, including the settlement Class Members, as defined in
  12       Section 1.7 of the Settlement Agreement. Specifically, the members of the Class
  13       that are subject to this Final Order and Judgment are all persons in California, who
  14       at any time between July 25, 2011 and June 1, 2013 participated in one or more
  15       inbound and/or outbound telephone conversations with employees, contractors,
  16       agents, subsidiaries, parents of representatives of Defendant Defender Security
  17       Company ("Defender") and whose calls were recorded or monitored by Defender.
  18             3.     The Settlement Agreement, and the terms set forth therein, are hereby
  19       found and determined to be fair, reasonable, and adequate, and are hereby approved
  20       and ordered to be performed by all parties. Defender shall have no liability to Class
  21       Members or any other persons, for any acts performed in connection with the
  22       administration of the Settlement Agreement, including, but not limited to, the
 23        requirement that Class Members provide information in order to qualify as
 24        Authorized Claimants.
 25              4.     The Court finds that the form, manner and content of the Class Notice
 26        and Short Form Class Notice described in the Settlement Agreement, and specified
 27        in Exhibits B and E to the Settlement Agreement, provided a means of notice
 28        reasonably calculated to apprise the Class Members of the pendency of the action
                                                    2.
              [PROPOSED] FINAL ORDER APPROVING CLASS ACTION SETTLEMENT AND JUDGMENT
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 48 of 63 Page ID #:737


      1   and the proposed settlement, and thereby met the requirements of Rule 23(c)(2) of
   2      the Federal Rules of Civil Procedure, as well as due process under the United States
   3      Constitution, and any other applicable law, and constituted due and sufficient notice
   4      to all Class Members entitled thereto. Specifically, individual notice was provided
   5      to Class Members by regular mail where available, and class notice was provided to
   6      all potential Class Members by publishing such notice on the Settlement Website
   7      and in the California edition of USA Today for at least a period of two days and an
   8      advertisement size of at least 1/4 of a page.
   9            5.       This Final Order and Judgment applies to all claims or causes of action
  10      settled under the terms of the Settlement Agreement, and shall be fully binding with
  11      respect to all Class Members who did not properly request exclusion pursuant to the
  12      Order Granting Preliminary Approval of Class Action Settlement entered by this
  13      Court on , 2013.
  14            6.       Representative Plaintiff Kami Brown and all Class Members who did
  15      not properly request exclusion are barred and permanently enjoined from asserting,
  16      instituting, or prosecuting, either directly or indirectly, any claims released under
  17      the Settlement Agreement which they had, or have, to the extent provided in the
  18      Settlement Agreement. All claims of Representative Plaintiff and all Class
  19      Members shall be conclusively deemed released and discharged as to Defender and
 20       its related entities, to the extent provided in the Settlement Agreement.
 21             7.       The Claims Administrator shall conduct all administration of the
 22       Common Fund in accordance with the Settlement Agreement. The Claims
 23       Administrator shall prepare and issue all disbursements to Authorized Claimants,
 24       and any remaining unclaimed or uncashed funds shall be distributed to the
 25       Consumer Federation of America which is a non-profit organization qualified under
 26       IRC § 501(c)(3) that educates organizations and/or consumers in California
 27       regarding issues relating to protection of privacy, identity, and personal
 28       information.
                                                     3.
             IPROPOSEDI FINAL ORDER APPROVING CLASS ACTION SETTLEMENT AND JUDGMENT
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 49 of 63 Page ID #:738



      I            8.    The Claims Administrator shall issue the appropriate Prorated
   2      Settlement Amount to each Authorized Claimant within the time periods specified
   3      in the Settlement Agreement.
   4               9.    All claims asserted by Representative Plaintiff and the Class Members
   5      in this Action are hereby dismissed with prejudice.
   6               10.   The Court finds that Class Counsel are qualified to represent the
   7      settlement Class. The Court hereby grants Class Counsel's request for an award of
   8      attorneys' fees and costs in the total amount of $
   9      which shall be paid out of the Common Fund within the time periods specified in
  10      the Settlement Agreement. The Court finds that the amount of this award is fair
  11      and reasonable in light of the efforts expended by Class Counsel in prosecuting this
  12      Action and the results obtained.
  13               11.   The Court finds that it is appropriate for the Class Representative to be
  14      paid a one-time payment of Five Thousand Dollars ($5,000.00) as compensation for
  15      instituting, prosecuting and bearing the laboring oar and risk of this litigation as
  16      Class Representative. This payment shall be made out of the Common Fund within
  17      the time periods specified in the Settlement Agreement.
  18               12.   The Court approves payment to KCC Class Actions Services, LLC to
  19      be paid out of the Common Fund for all expenses incurred in providing notice to
 20       the Class and administering the Settlement.
 21                13.   Without affecting the finality of this Final Order and Judgment in any
 22       way, the Court hereby retains continuing jurisdiction over the parties for the
 23       purpose of construing, enforcing and administering this Final Order and Judgment,
 24       and the terms of the Settlement Agreement.
 25

 26       Dated:
                                             Hon. Christina A. Snyder
 27                                          United States District Court Judge
 28
                                                     4.
             I PROPOSED] FINAL ORDER APPROVING CLASS ACTION SETTLEMENT AND JUDGMENT
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 50 of 63 Page ID #:739




                       EXHIBIT D
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 51 of 63 Page ID #:740



       1

   2

   3

   4

   5

   6

   7

   8                                  UNITED STATES DISTRICT COURT
   9                                 CENTRAL DISTRICT OF CALIFORNIA
  10                                         WESTERN DIVISION
  11

  12       KAMI BROWN, on Behalf of Herself
           and All Others Similarly Situated,           Case No. CV 12-07319-CAS (PJWx)
  13
                        Plaintiff,
  14                                            [PROPOSED] ORDER GRANTING
                 VS.                            PRELIMINARY APPROVAL OF
  15                                            CLASS ACTION SETTLEMENT,
           DEFENDER SECURITY COMPANY CONDITIONALLY CERTIFYING A
  16       d/b/a DEFENDER DIRECT, INC. and SETTLEMENT CLASS,
           PROTECT YOUR HOME; and DOES APPROVING FORM OF NOTICE
  17       1 through 100, inclusive,            TO THE CLASS AND SETTING
                                                HEARING OF FINAL APPROVAL
  18                                            OF SETTLEMENT
                                     Defendant.
  19

 20

 21
                 On             , 2013, this Court heard plaintiff Kami Brown's unopposed
 22
           motion for preliminary approval of class settlement and provisional class
 23
           certification under Rule 23(e) of the Federal Rules of Civil Procedure. This Court
 24
           reviewed the motion, including the Settlement Agreement and Release
 25
           ("Agreement"). Based on this review and the findings below, the Court found good
 26
           cause to grant the motion.
 27

 28
                                                       1.

                   [PROPOSED' PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 52 of 63 Page ID #:741


        1
    2       FINDINGS:
    3              1.       For purposes of this Order, the Court adopts and incorporates all
    4       definitions set forth in the Settlement Agreement and Release ("Settlement
    5       Agreement"), filed with the Court.
    6             2.        The Court finds that the requirements of Rule 23(a) and 23(b)(3) of the
    7       Federal Rules of Civil Procedure and other laws and rules applicable to preliminary
    8       settlement approval of class actions have been satisfied, and the Court preliminarily
   9        approves the settlement of this Action as memorialized in the Settlement
  10        Agreement, which is incorporated herein by this reference, as being fair, just,
  I I       reasonable and adequate to the settlement Class and its members, subject to further
  12        consideration at the Final Fairness and Approval Hearing described below, and thus
  13        hereby:
  14
                        (a) conditionally certifies for purposes of implementing the Settlement
  15              Agreement only the Class consisting of all persons in California, who at any
                  time between July 25, 2011 and June 1, 2013 participated in one or more
  16
                  inbound and/or outbound telephone conversations with employees,
  17              contractors, agents, subsidiaries, parents of representatives of Defendant
                  Defender Security Company ("Defender") and whose calls were recorded or
  18
                  monitored by Defender;
  19
                           (b) appoints Plaintiff Kami Brown as the representative of the Class;
 20               and
 21
                         (c) appoints Zev B. Zysman, Esq., Law Offices of Zev B. Zysman,
 22               APC and Jordan L. Lurie, Esq., Capstone Law APC as attorneys for the Class
                  for purposes of settlement and finds for the purposes of settlement that these
 23
                  attorneys are qualified to represent the Class.
 24               3.       A hearing (the "Final Fairness and Approval Hearing") shall be held
 25         on                                        , at         before the Honorable Christina A.
 26         Snyder, in Courtroom 5 of the United States District Court for the Central District
 27
            of California, located at 312 N. Spring Street, Los Angeles, California 90012. At
 28
                                                             2.
                       [PROPOSED] PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 53 of 63 Page ID #:742


   1   that time, the Court shall determine: (a) whether the proposed settlement of the
   2   Action on the terms and conditions provided for in the Settlement Agreement is
   3   fair, just, reasonable and adequate and should be finally approved; (b) whether
   4   judgment as provided in the Settlement Agreement should be entered herein; and
   5   (c) whether to approve Class Counsel's application for an award of attorneys' fees
   6   and costs, and Plaintiff Kami Brown's application for an enhancement payment.
   7   The Court may continue or adjourn the Final Fairness and Approval Hearing
   8   without further notice to members of the Class.
   9         4.       The Court approves, as to form and content, the Class Notice attached
  10   to the Settlement Agreement as Exhibit B, the Short Form Class Notice attached to
  11   the Settlement Agreement as Exhibit E, and the Claim Form attached to the
  12   Settlement Agreement as Exhibit A. The Court finds that distribution of the Short
  13   Form Class Notice and publication of the Class Notice and the Short Form Notice
  14   in the manner set forth in this Order and the Settlement Agreement constitutes the
  15   best notice practicable under the circumstances, and constitutes valid, due and
  16   sufficient notice to all members of the Class, complying fully with the requirements
  17   of Rule 23 of the Federal Rules of Civil Procedure, the Constitution of the United
  18   States, and any other applicable laws. The forms of notice set forth herein and in
  19   the Settlement Agreement provide a means of notice reasonably calculated to
 20    apprise the Class Members of the pendency of the action and the proposed
 21    settlement, and thereby meet the requirements of Rule 23(c)(2) of the Federal Rules
 22    of Civil Procedure, as well as due process under the United States Constitution and
 23    any other applicable law, and shall constitute due and sufficient notice to all Class
 24    Members entitled thereto.
 25          5.       The Court approves the selection of KCC Class Action Services, LLC
 26    to be the Claims Administrator. The Claims Administrator shall administer the
 27    applicable provisions of the Settlement Agreement, including, but not limited to,
 28    distributing and providing the class notice, receiving and examining claims, setting
                                                     3.
                  [PROPOSED' PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 54 of 63 Page ID #:743



       1   up and maintaining a website for this settlement, calculating the Prorated
       2   Settlement Amount, preparing and issuing all disbursements of the Prorated
   3       Settlement Amount to Authorized Claimants, handling inquiries about the
   4       calculation of the individual Prorated Settlement Amounts, and any other duties
   5       necessary for the proper administration of claims. All fees and costs of the Claims
   6       Administrator shall be paid out of the Common Fund established by Defender.
   7              6.       Defender shall deliver One Million, Four Hundred Thousand, U.S.
   8       Dollars ($1,400,000.00) to the Claims Administrator to place into the account set
   9       up to hold the Common Fund within fifteen (15) days following the entry of the
  10       Order Granting Preliminary Approval of Class Action Settlement in the manner
  11       specified in the Agreement.
  12              7.       The Claims Administrator also shall conduct all administration of
  13       disbursements of the Prorated Settlement Amount and otherwise manage the
  14       Prorated Settlement Amount. The Claims Administrator shall establish a toll-free
  15       phone number for Class Members to call to answer questions regarding their
  16       claims.
  17             8.       The Claims Administrator shall ensure that the information that it
  18       receives from Defender and Class Members is secured and managed in such a way
  19       as to protect the security and confidentiality of the information, consistent with the
  20       privacy policies of Defender as well as applicable law. Except as specifically
  21       provided in the Settlement Agreement, the Claims Administrator will not disclose
  22       or disseminate any information that it receives from Defender and Class Members
  23       to anyone, without the prior written consent of all Parties.
  24             9.       No later than twenty (20) days of this Order, Defender shall compile a
  25       list (the "Class List") from information reasonably in its possession of each of its
  26       current, prospective, and former customers who has a last known address or
  27       telephone number in California and who Defender has identified as having made a
  28       telephone call to, or received a telephone call from, Defender between July 25,
                                                         4.
                      [PROPOSED' PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 55 of 63 Page ID #:744


   I   2011 and June 1, 2013 (the "Class Period"), and shall provide such Class List to the
   2   Claims Administrator. This Class List shall include: (a) name (if available); (b) last
   3   known mailing address (if available); and (c) telephone number (if available).
   4   Defender will provide the telephone number of those potential Class Members for
   5   which Defender does not have a name or mailing address to the Class
   6   Administrator for the purpose of permitting the Class Administrator to ascertain
   7   that Class Member's mailing address.
   8         10.    No later than thirty (30) days after receipt of the Class List, the Claims
   9   Administrator shall mail the Short Form Class Notice to the last known mailing
  10   address of each person on the Class List for whom an address was provided
  11         11.    With respect to those customers whose Short Form Notice by regular
  12   mail is returned to the Claims Administrator as undeliverable, the Claims
  13   Administrator shall promptly attempt to obtain an updated address for that
  14   customer, and if such an address is obtained, shall resend the Short Form Notice to
  15   that updated address
  16         12.     No later than thirty (30) days after the date of this Order, notice also
  17   will be provided by publication of the Class Notice on the Settlement Website and
  18   the Short Form Class Notice in the California edition of USA Today for at least a
  19   period of two days and an advertisement size of at least 1/4 of a page, which shall
 20    include the web address of the Claims Administrator's website, with the Class
 21    Notice and where the Claim Form may be accessed, filled out, and submitted.
 22          13.   No later than thirty (30) days after the second day of publication of the
 23    Short Form Notice in the California edition of USA Today, the Claims
 24    Administrator shall provide Defense Counsel and Class Counsel with a declaration
 25    attesting to completion of the publication notice process and the individual notice
 26    process (except for any ongoing attempt to obtain and verify valid mailing
 27    addresses for, and the re-sending of, any returned notices of the Class Settlement).
 28    Class Counsel shall file this declaration with the Court in connection with its
                                                  5.
               [PROPOSED] PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 56 of 63 Page ID #:745


       1   motion for final approval of the settlement
       2          14.    Any person may request to be excluded from the Class by mailing a
   3       letter, by first class mail to the Claims Administrator, containing a statement that he
   4       or she requests to be excluded from the Class. Any such request must be made in
   5       accordance with the terms set forth in the Class Notice and will be timely only if
   6       postmarked no later than ninety (90) days after this Order (said period being the
   7       "Exclusion Period").
   8             15.     No later than five (5) days after the Exclusion Period, the Claims
   9       Administrator shall provide Defense Counsel and Class Counsel with a list of the
  10       names of all Class Members who have requested exclusion from the Class. Within
  11       fifteen (15) days after the later of (1) Effective Date, (2) the end of the Claim
  12       Period, or (3) the resolution of all disputes over individual settlement amounts or
  13       Authorized Claimants (including Defender's option to research the claims as
  14       provided in Section 8.4 of the Agreement), the Claims Administrator will provide a
  15       list ("Final List of Individual Settlement Amounts") to Class Counsel and Defense
  16       Counsel showing the name, address, and individual settlement amounts for each
  17       Authorized Claimant who will receive settlement proceeds from the Settlement
  18       Amount.
  19             16.     If more than two hundred (200) Class Members request exclusion
  20       from the Class within the Exclusion Period, Defender shall have the option to
  21       terminate the Settlement Agreement and the settlement proceedings, and this Order
  22       shall be null and void and the settlement of no force and effect. The notice of
  23       termination shall be promptly filed with the Court by counsel for Defender. If
  24       Defender notifies Class Counsel that it has elected to terminate the Agreement,
  25       Class Counsel may attempt to cause retraction of any elections of exclusion by a
  26       Class Member(s). If Class Counsel, prior to the date of the Final Fairness and
  27       Approval Hearing, succeeds in causing retraction of sufficient requests for
  28       exclusion such that the number of exclusions no longer exceeds two hundred (200),
                                                      6.
                   IPROPOSEDI PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 57 of 63 Page ID #:746


        1   Defender's notice of withdrawal shall be a nullity.
    2              17.    In order to be an Authorized Claimant entitled to settlement funds, the
    3       Claim Form must be electronically submitted or postmarked by mail to the Claims
    4       Administrator no later than ninety (90) days after Preliminary Approval ("Claim
    5       Period"). The Court approves the form of the Claim Form attached to the
    6       Settlement Agreement as Exhibit A, and the information requested therein.
    7       Defender shall have no liability to Class Members or any other persons, for any acts
    8       performed in accordance with the terms of the Settlement Agreement, including,
    9       but not limited to, the requirement that Class Members provide information in order
   10       to qualify as Authorized Claimants as set forth in the Claim Form.
   11             18.     Class Counsel shall file a motion for final approval of settlement no
   12       later than one hundred and ten (110) days after the date of this Order.             Class
   13       Counsel shall also file any papers supporting its request for attorneys' fees and
   14       costs, and the Class Representative's service payment with the Court at least
   15       fourteen (14) days prior to the deadline for Class Members to object to the
   16       Settlement. The application for attorneys' fees and costs shall be posted on the
   17       website of the Claims Administrator so that it may be reviewed and printed out by
  18        any member of the Class.
  19              19.     Any Class Members wishing to object to the approval of the
  20        Settlement or the award of attorneys' fees and reimbursement of expenses to Class
  21        Counsel or the Class Representative's service payment ("Objecting Class
  22        Members") shall no later than ninety (90) days after the date of the Court's Order
  23        granting preliminary approval of the settlement, file a written objection with this
  24        Court, and deliver upon Class Counsel and Defense Counsel at the addresses below,
  25        such written objection and copies of any papers and briefs desired to be considered
  26        by the Court, together with proof of membership in the Settlement Class in the
  27        manner set forth in the Class Notice. The delivery date is deemed to be the date the
  28        objection is deposited in the U.S. Mail as evidenced by the postmark.
                                                       7.
                    [PROPOSED] PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 58 of 63 Page ID #:747



       1          Class Counsel:
    2
                 Zev B. Zysman, Esq.
    3            Law Offices of Zev B. Zysman, APC
                 15760 Ventura Boulevard, Suite 1915
    4
                 Encino, CA 91436
    5

    6            Jordan L Lurie, Esq.
    7            Capstone Law APC
                 1840 Century Park East, Suite 450
    8            Los Angeles, CA 90067
    9
                 Defense Counsel:
   10
                 Kevin D. Rising
   11            Levi W. Heath
   12            Devin Stone
                 BARNES & THORNBURG LLP
   13            2049 Century Park East, Suite 3550
   14
                 Los Angeles, CA 90067

   15            Any Class Member who has filed and served such written objections may,
   16      but is not required to, appear himself or herself, or through counsel, at the Final
   17      Fairness and Approval Hearing, to object to the approval of the Settlement, the
   18      award of attorneys' fees and reimbursement of expenses to Class Counsel, or the
   19      Class Representative's service payment. However, Class Members, or their
  20       attorneys, intending to make an appearance at the Final Fairness and Approval
  21       Hearing, must also deliver to Class Counsel and Defense Counsel, and file with the
  22       Court, a Notice of Intention to Appear no later than ninety (90) days after the date
  23       of the Court's Order granting preliminary approval of the settlement. Only Class
  24       Members who file and serve timely Notices of Intention to Appear may speak at the
  25       Final Fairness and Approval Hearing
  26             20.    Any settlement Class Member who does not make his, her or its
  27       objection(s) in the manner so provided herein and in the Class Notice shall be
  28
                                                      8.
                   'PROPOSED] PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 59 of 63 Page ID #:748



       1   deemed to have waived such objection(s) and shall forever be foreclosed from
    ?      making any objection(s) to the fairness or adequacy of the proposed Settlement as
    3      incorporated in the Settlement Agreement, the award of attorneys' fees and
    4      reimbursement of expenses to Class Counsel, or the Class Representative's service
    5      payment, and the right to appeal any orders that are entered relating thereto, unless
    6      otherwise ordered by the Court.
    7               21.    The Court reserves the right to adjourn the date of the Final Fairness
    8      and Approval Hearing and any adjournment thereof may be without further notice
    9      to the members of the Class, and retains jurisdiction to consider all further
   10      applications arising out of or connected with the settlement. The Court may
   11      approve the settlement, with such modifications as may be agreed to by the parties
   12      to the settlement, if appropriate, without further notice to the Class.
   13
   14
           Dated:
   15                                          Hon. Christina A. Snyder
                                               United States District Court Judge
   16

   17

   18

   19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                        9.
                     [PROPOSED] PRELIMINARY APPROVAL AND PROVISIONAL CLASS CERTIFICATION ORDER
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 60 of 63 Page ID #:749
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 61 of 63 Page ID #:750



     Short notice


                                                     United States District Court for the Central
                                                                District of California

         Kami Brown v. Defender Security                Case No. 2:12-cv-07319-CAS-PJW
        Company d/b/a Defender Direct, Inc.

                                                         NOTICE OF PENDENCY AND
                                                       SETTLEMENT OF CLASS ACTION


    ATTENTION ALL PERSONS IN CALIFORNIA WHO HAD TELEPHONE
    CALLS WITH DEFENDER SECURITY COMPANY BETWEEN JULY 25, 2011
    AND JUNE 1, 2013

    There is now pending in the United States District Court for the Central District of
    California ("Court") a lawsuit entitled Kami Brown v. Defender Security Company d/b/a
    Defender Direct, Inc., Case No. 2:12-cv-07319-CAS-PJW (the "Lawsuit"), which
    involves allegations that telephone calls with Defender Security Company (doing
    business as Protect Your Home, Enjoy Better TV, Defender Direct, Adex Security, True
    Blue Water Solutions, True Energy Smart Air, True Home, True.Home, and True Home
    Security) ("Defender") , were monitored and/or recorded without providing notice.
    Defender has denied and continues to deny any liability, and there has been no finding
    that Defender has violated any laws.

    A Settlement has been reached. If you meet the criteria below, you may be a member of
    the Settlement Class and entitled to file a claim for monetary recovery.

    This Notice is only a summary. You can obtain the full class action notice, which
    explains the Settlement and your rights under it, by visiting [website].

                            THE CLASS AND THE SETTLEMENT

    You are a Class Member to a proposed class action settlement (the "Settlement") which
    could affect your legal rights if you were in California and placed or received one or
    more telephone calls to or from Defender between July 25, 2011 and June 1, 2013, spoke
    with a representative on behalf of Defender, and were not provided with notice that the
    call may be recorded or monitored (the "Settlement Class").

    If you qualify to be in the Settlement Class, you are a Class Member and may be entitled
    to payment of money from the Settlement Amount.

    Without admitting liability, One Million Four Hundred Thousand Dollars ($1,400,000)
    will be paid to settle the case, less any attorneys' fees and costs awarded by the Court to
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 62 of 63 Page ID #:751



    Class Counsel and a service payment to the Representative Plaintiff, as well as the costs
    of Class Notice and claims administration ("Settlement Amount").

    Subject to approval by the Court, each member of the Settlement Class who does not
    request exclusion from the class and who submits a valid claim as described below shall
    be entitled to a one-time distribution payment. The actual amount received by each Class
    Member will depend on the number of claims submitted and approved by the Claims
    Administrator and will be determined by a formula set forth in the full description of the
    Settlement, which may be obtained by visiting [website]. Any unclaimed or uncashed
    funds will be paid to the Consumer Federation of America, which is a non-profit
    organization qualified under 501(c)(3) of the Internal Revenue Code that educates
    organizations and/or individual consumers in California regarding issues relating to
    protection of privacy, identity, and personal information.

                                  HOW TO MAKE A CLAIM
    If you are a Class Member and wish to receive a portion of the Settlement Amount, you
    must fill out and submit a valid Claim Form online or in paper form that is available at
    the following website: [website]. This must be done no later than , 2013.

                    FINAL JUDGMENT AND RELEASE OF ALL CLAIMS
    If the Court approves the proposed settlement, it will enter a final judgment in the action
    on the merits as to all Class Members who do not request to be excluded from the
    Settlement Class. All Class Members who submit valid claims, and all Class Members
    who do not validly and timely request to be excluded from the proposed settlement, shall
    be subject to a binding judgment in favor of Defender. All such Class Members shall be
    forever barred from prosecuting their own lawsuits and shall be deemed to have released
    Defender and its agents from all claims, causes of action or losses of any kind whatsoever
    relating to the monitoring and/or recording of telephone calls which any Class Member
    has or may claim to have against such persons which are based upon, arise out of, or in
    any way relate to any of the acts, omissions or other conduct that were or could have been
    alleged or otherwise referred to in the Lawsuit.

                                NOTICE OF COURT HEARING
    The Settlement is subject to final Court approval and a hearing for that purpose has been
    scheduled for [date] before the Honorable Christina A. Snyder in Courtroom 5 of the
    United States District Court for the Central District of California, located at 312 N.
    Spring Street, Los Angeles, California 90012 ("the Final Fairness and Approval
    Hearing"), to consider whether to grant final approval to the proposed Settlement,
    including Class Counsel's request for attorneys' fees and costs in an amount not to
    exceed thirty percent (30%) of the Common Fund, and an incentive payment of $5,000 to
    the Representative Plaintiff Kami Brown, both of which shall be paid out of the
    Common Fund. You have the right to appear at the hearing, although you do not have to.

    You may comment on, or object to, the terms of the proposed settlement by
    2013. The full notice describes how to submit comments or objections.
Case 2:12-cv-07319-CAS-PJW Document 59 Filed 09/12/13 Page 63 of 63 Page ID #:752




                  TO EXCLUDE YOURSELF FROM THE SETTLEMENT
    If you do not wish to participate in or be bound by the proposed Settlement, you must
    exclude yourself as described in the full notice, by                , 2013, or you will be
    barred from prosecuting any legal action against Defender related to the settled claims. If
    you exclude yourself, you may NOT file a claim and you will not receive compensation
    under the Settlement. To view the full notice or fill out the Claim Form, please visit
    [website].

      PLEASE DO NOT CONTACT THE COURT OR DEFENSE COUNSEL WITH
                           ANY QUESTIONS
